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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION
                                  LONDON

CRIMINAL NO. 15-CR-19-GFVT-HAI

UNITED STATES OF AMERICA                                                     PLAINTIFF


V.          NOTICE BY UNITED STATES OF AUSA REPLACEMENT


ROY COMBS                                                                  DEFENDANT

                                     * * * * * *

       The United States gives notice that the undersigned Assistant United States

Attorney replaces Assistant United States Attorney Andrew Sparks as counsel for the

United States in the above-listed case. All future pleadings and orders should be sent to

the undersigned and no longer to Mr. Sparks.

                                                 Respectfully Submitted,

                                                 ROBERT M. DUNCAN, JR
                                                 UNITED STATES ATTORNEY

                                          By:    s/Paul McCaffrey
                                                 Assistant United States Attorney
                                                 260 W. Vine Street, Suite 300
                                                 Lexington, Kentucky 40507-1612
                                                 (859) 685-4820
                                                 Paul.McCaffrey@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On January 7, 2010, I electronically filed this document through the ECF system,

which will send the notice of electronic filing to all parties of record.

                                                   s/Paul McCaffrey
                                                   Assistant United States Attorney




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